FILED
Charlotte, NC

OCT 27 2021
IN THE UNITED STATES DISTRICT COURT Clerk, US District Court
FOR THE WESTERN DISTRICT OF NORTH CAROLINA Western District NC
CHARLOTTE DIVISION
DOCKET NO.: 3:20cr222-FD W
UNITED STATES OF AMERICA )
) CONSENT ORDER AND
v. ) JUDGMENT OF FORFEITURE
) PENDING RULE 32.2(c)(2)
DIANTE RAMON BROWN )

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

1, The following property is forfeited to the United States pursuant to 21 U.S.C. §
853, 18 U.S.C. § 924 and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific
assets is subject to any and all third party petitions under 21 U.S.C. § 853(n), pending final
adjudication herein: .

A forfeiture money judgment in the amount of $10,260 such amount constituting the
proceeds that Defendant personally obtained as a result of the offense/s to which
Defendant has pled guilty. Defendant stipulates that the Government may satisfy the
money judgment via forfeiture of proceeds and/or substitute property as defined in
21 U.S.C. § 853(p). For purposes of forfeiture under Section 853(p), Defendant
stipulates that, as a result of acts or omissions of Defendant, one or more provisions
of Section 853(p)(1)(A)-(E) are satisfied;

One Bersa, Model Thunder 40 ULCT Pro, .40 caliber pistol, bearing serial number
D66349, and ammunition, seized on or about August 26, 2019 during the
investigation;

One Springfield Armory, Model XD45 .45 caliber pistol, bearing serial number
XD723242, and ammunition, seized on or about August 26, 2019 during the
investigation;

One SWD, Model M11/9, 9mm pistol, bearing serial number XX-XXXXXXX, and
ammunition, seized on or about August 26, 2019 during the investigation; and

One Tavor, Model X95, .9 caliber rifle, bearing serial number T0068397, and
ammunition, seized on or about September 25, 2019 during the investigation.

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2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4, A forfeiture money judgment shall be included in the defendant’s sentence, and the
United States may take steps to collect the judgment from any property of the defendant, provided,
the value of any forfeited specific assets shall be credited toward satisfaction of this money
judgment upon liquidation.

5. Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

6. Pursuant to Fed, R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

7. As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of Defendant’s crime(s) herein or property involved in or used in the
offense(s) and are therefore subject to forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924
and/or 28 U.S.C. § 2461(c). The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant. If
the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument, Defendant consents to destruction by
federal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such process
or such destruction.

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WILLIAM T. STETZER

 

ACTING WA dL) ATTORNEY
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WA L. SPAUGH DIANTE RAMON BROWN
Speciat-A ssistant United States Attorney Defendant

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RODERICK DAVIS, ESQ.
Attorney for Defendant

Signed this the 27" day of October, 2021.

 

 

THE HONORABLE FRANK D. 5 WHIREY
UNITED STATES DISTRICT JUDGE

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